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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

JAMES E. ZINNAMON,            )
                              )
          Plaintiff,          )
                              )
v.                            )                   Case No. 16-cv-860-W
                              )
LIBERTY MUTUAL FIRE INSURANCE )
COMPANY, LIBERTY MUTUAL       )
GROUP, LIBERTYGUARD AUTO      )
POLICY DECLARATIONS,          )
                              )
          Defendants.         )

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), Plaintiff James E. Zinnamon

("Plaintiff"), by and through his counsel of record, D. Mitchell Garrett, Jr., and

Amber Peckio Garrett, and Defendant Liberty Mutual Fire Insurance Company,

by and through its counsel of record, William W. O'Connor and Margo E.

Shipley of Newton, O'Connor, Turner & Ketchum, P.C., hereby stipulate to a

dismissal with prejudice of all of Plaintiff's claims and causes of action in the

above-styled and numbered case, each party to bear their own attorneys' fees

and costs.
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                                   Respectfully submitted,

                                   s/William W. O’Connor_______________
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                                   ATTORNEYS FOR DEFENDANT, LIBERTY
                                   MUTUAL FIRE INSURANCE COMPANY

                                   -AND-

                                   s/Amber Peckio Garrett*
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*Signed by filing attorney with permission of Plaintiff's attorney.




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